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                        Exhibit A
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                         IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 OCLC, Inc.,                                           Case No. 2:22-cv-2470-JLG-KAJ

                Plaintiff,                             Judge James L. Graham

        v.                                             Magistrate Judge Kimberly A. Jolson

 CLARIVATE, PLC; CLARIVATE
 ANALYTICS (US) LLC; PROQUEST
 LLC; and EX LIBRIS (USA), INC.,

                Defendants.


         PLAINTIFF OCLC, INC.’S FIRST SET OF INTERROGATORIES AND
              REQUESTS FOR PRODUCTION TO CLARIVATE, PLC


       Plaintiff OCLC, Inc., by and through its undersigned counsel, hereby request that, within

14 days of the date of service hereof, Defendant Clarivate, Plc responds in writing to each of the

following Interrogatories and Requests for Production of Documents (collectively “Requests”).

                                         DEFINITIONS

       1.      “Clarivate” shall refer to defendant Clarivate, Plc and its predecessors, successors,

parents, subsidiaries, officers, directors, employees, agents, attorneys, representatives and any

other Persons acting on behalf of or in cooperation with any of the foregoing.

       2.      “Clarivate Analytics” shall refer to defendant Clarivate Analytics (US) LLC and its

predecessors, successors, parents, subsidiaries, officers, directors, employees, agents, attorneys,

representatives and any other Persons acting on behalf of or in cooperation with any of the

foregoing.

       3.      “Complaint” shall refer to the Complaint filed by Plaintiff in the above-captioned

case on June 13, 2022.
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        4.       “Defendants” shall refer to defendants Clarivate, Clarivate Analytics, ProQuest,

and Ex Libris.

        5.       “Ex Libris” shall refer to defendant Ex Libris (USA), Inc. and its predecessors,

successors, parents, subsidiaries, officers, directors, employees, agents, attorneys, representatives

and any other Persons acting on behalf of or in cooperation with any of the foregoing.

        6.       “Lawsuit” shall refer to the above-captioned case filed on June 13, 2022.

        7.       “MetaDoor” shall refer to the cataloguing resource platform product developed,

marketed, designed, and/or operated by You and Defendants, as described in the Complaint.

        8.       “MetaDoor Consent Form” shall refer to the form referenced in the March 10, 2022

email chain available online and attached here as Attachment 1.1

        9.       “OCLC WorldCat® Customers/Members” shall refer to the OCLC member

libraries, which can be found through a searchable directory available on OCLC’s website at

https://www.oclc.org/en/contacts/libraries.html.

        10.      “Plaintiff” and “OCLC” shall refer to plaintiff OCLC, Inc. and its predecessors,

successors, parents, subsidiaries, officers, directors, employees, agents, attorneys, representatives

and any other Persons acting on behalf of or in cooperation with any of the foregoing.

        11.      “ProQuest” shall refer to defendant ProQuest LLC and its and its predecessors,

successors, parents, subsidiaries, officers, directors, employees, agents, attorneys, representatives

and any other Persons acting on behalf of or in cooperation with any of the foregoing.

        12.      The terms “You” and “Your” shall refer to defendant Clarivate.

        13.      The terms “communication” and “communications” are used in the broadest

possible sense and mean every conceivable manner or means of disclosure, transfer or exchange


1
  Email (Mar. 10, 2022), https://lists.ctc.edu/pipermail/wactclc-alma_lists.ctc.edu/2022-March/010806.html (last
visited June 13, 2022).


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of oral or written information between one or more persons or entities and shall include, without

limitation, notes, letters, memoranda, e-mail, facsimiles, reports, briefings, telegrams, telexes, or

by oral contact by such means as face to face meetings and telephone conversations, or any form

of transmittal of information in the form of facts, ideas, inquiries or otherwise.

       14.     The terms “document” and “documents” are used in the broadest meaning ascribed

by Fed. R. Civ. P. 34(a), and shall mean all written, recorded, or graphic matter, or computer or

electronic records of written, recorded or graphic matter, of every type or description in your

possession, custody, or control, whether an original, copy, or draft, wherever located. Documents

also shall include the memorializations of communications encompassing all forms by which

information or Documents can be transmitted or exchanged, including but not limited to meetings,

other face-to-face exchanges, telephone conversations, letters, facsimiles, electronic mail, notes of

any of the foregoing, and the like.

       15.     The term “including” shall be construed to mean “including but not limited to” as

necessary to bring within the scope of the Request all responses that might otherwise be construed

to be outside of its scope.

       16.     The terms “relate to,” “relates to,” “relating to,” and “related to” mean referring to,

summarizing, reflecting, constituting, containing, concerning, embodying, mentioning, discussing,

describing, consisting of, comprising, showing, commenting on, tending to support or tending to

refute, or in any way logically or factually connected with the matter that is the subject of the

Request.

                                         INSTRUCTIONS

       1.      In answering and responding to these Requests, You shall furnish such documents

and information in Your possession, custody or control, including documents and information that




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is in the possession, custody or control of Your agents, investigators, consultants, and (subject to

any otherwise applicable privileges) attorneys.

       2.      If you feel any discovery request is unclear, overbroad, or otherwise objectionable,

you should immediately contact Plaintiff’s counsel for clarification.

       3.      In providing Your responses, You are requested to make a full and thorough search

and to furnish all documents and information available to You, including documents and

information in the possession of Your present and former attorney(s), agent(s), and any other

representative(s) or person(s) acting on Your behalf, not merely such documents in Your

possession or information presently known to You.

       4.      If You cannot provide some or any of the requested documents or information (after

exercising due diligence to secure them), state and specify the reasons for Your inability to produce

the remainder of the documents or information and state whatever information or knowledge You

have concerning the documents or information not provided.

       5.      Where the context in the Requests makes it appropriate, each singular word shall

include its plural and each plural word shall include its singular. The words “any,” “and,” and “or”

shall be construed either disjunctively or conjunctively as necessary to bring within the scope of

the discovery all responses which might otherwise be construed to be outside its scope. Each of

the following words includes the meaning of every other word: “each,” “every,” “all,” and “any.”

The present tense shall be construed to include the past tense, and the past tense shall be construed

to include the present tense.

       6.      Any Documents responsive to these Requests that are not produced by a reason or

a claim of privilege, work product, or for any other reason shall be identified in a writing which

expressly makes the claim on which the document is being withheld. Such a writing shall describe




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the nature of the documents, communications, or tangible things not produced or disclosed—and

do so in a manner that, without revealing the information that itself is privileged or protected, will

enable other parties to assess the claim. Such a claim must meet the requirements of Federal Rule

of Civil Procedure 26(b)(5).

       7.      If no Documents exist that are responsive to a particular Request, state in writing

that no responsive Documents exist.

                                      INTERROGATORIES

       Interrogatory 1.        Identify and describe in detail Your corporate structure and Your

relationship to any parents, subsidiaries, affiliates, and other related entities, including the other

Defendants in this Lawsuit.

       Response:



       Interrogatory 2.        Identify any of Your parents, subsidiaries, affiliates, or other related

entities that is or was involved in the development, design, strategy, marketing, operations,

implementation, and/or oversight of MetaDoor.

       Response:



       Interrogatory 3.        For You and any entity identified in Interrogatory No. 2, describe in

detail how the entity is or was involved in the development, design, strategy, marketing, operations,

implementation, and/or oversight of MetaDoor.

       Response:



       Interrogatory 4.        Identify and describe in detail any presentations that You have made

to the public and/or current or potential customers, partners, or collaborators regarding MetaDoor,


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including (i) the title of the presentation, (ii) the date, time, and location of where it was given, (iii)

the name and title of the presenter, (iv) the names and/or affiliations of those in attendance, (v)

what materials were provided to attendees, (vi) whether the presentation was connected to a

conference, event, or meeting, and (vii) whether the presentation was recorded.

        Response:



        Interrogatory 5.        Identify all OCLC WorldCat® Customers/Members that You have

communicated with about MetaDoor.

        Response:



        Interrogatory 6.        Identify all OCLC WorldCat® Customers/Members that have

downloaded, linked to, uploaded, and/or otherwise transferred their bibliographic records and/or

associated metadata to You and/or MetaDoor.

        Response:



        Interrogatory 7.        Identify and describe in detail any agreements between You and any

OCLC WorldCat® Customers/Members related to MetaDoor.

        Response:



        Interrogatory 8.        Describe in detail the design and operation of MetaDoor, including

how records, bibliographic information, and/or metadata are submitted to, merged to, linked to,

uploaded to, transferred to, indexed, scored, and/or used by MetaDoor. This includes, how

WorldCat® records are used in the creation of the global index links to various library catalogs,

as well as how Defendants create the links to the individual library catalogs via the global index.



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       Response:



       Interrogatory 9.       Describe in detail the scoring algorithm for the individual records in

MetaDoor, including how it is created and what criteria it is based upon.


       Response:



                               REQUESTS FOR PRODUCTION

       Request for Production 1. Any communications between You and any OCLC

WorldCat® Customers/Members related to MetaDoor.

       Response:



       Request for Production 2. All agreements, contracts, terms, and/or consent forms

provided to and/or executed by You and/or any OCLC WorldCat® Customers/Members related to

MetaDoor, including the MetaDoor Consent Form.

       Response:



       Request for Production 3. All documents related to the MetaDoor presentations

identified by You in Interrogatory 4, including any slide decks, demonstratives, recordings,

internal training documents, and/or other materials given to trainers and/or attendees.

       Response:



       Request for Production 4. All documents relied upon or that support Your responses to

Interrogatories 1 through 9 to the extent not already provided herein.




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                                     Respectfully submitted,

                                     /s/ Traci L. Martinez
                                     Traci L. Martinez (0083989), Trial Attorney
                                     Jeffrey M. Walker (0096567)
                                     Kathryn M. Brown (0100426)
                                     SQUIRE PATTON BOGGS (US) LLP
                                     2000 Huntington Center
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                                     kathryn.brown@squirepb.com

                                     Attorneys for Plaintiff OCLC, Inc.




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                                CERTIFICATE OF SERVICE

       On June 13, 2022, this document was filed electronically with the Clerk of the United States

District Court for the Southern District of Ohio, Eastern Division, which will electronically serve

a copy of the foregoing on all counsel of record for all parties. Additionally, this document was

sent by email to the following counsel for Defendant and will be served upon the parties with the

summons and complaint in this matter:

       Brian S. Weinstein
       Davis Polk & Wardell LLP
       450 Lexington Avenue
       New York, New York 10017
       brian.weinstein@davispolk.com

       Ashok Ramani
       Davis Polk & Wardell LLP
       1600 El Camino Real
       Menlo Park, California 94025
       ashok.ramani@davispolk.com


                                                     /s/ Traci L. Martinez
                                                     One of the Attorneys for Plaintiff




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                        Attachment 1
           Case:
5/26/22,4:40 PM      2:22-cv-02470-JLG-KAJ[Wactcic-alma]
                                           Doc #: 6-1FW: Filed:  06/13/22
                                                           Introducing        Page:
                                                                       MetaDoor -from Ex12  of 13 PAGEID #: 270
                                                                                         Libris/ProQuest


 [Wactcic-alma] FW:Introducing MetaDoor -from Ex Libris/ProQuest
 Guidry,Wade WadeG at bigbend.edu
 Thu Mar 1016:40:49 PST2022

    • Previous message(by thread): [Wactcic-alma] FW:Introducing MetaDoor -from Ex Libris/ProQuest
    • Next message(by thread): [Wactcic-alma] FW:Introducing MetaDoor -from Ex Libris/ProQuest
    • Messages sorted by:[ date ][ thread ] Lsubject ][ author ]


 I guess ProQuest read my bullet point idea about an "OCLC-less library" 0

 Just to add, Innovative Interfaces (now a part of ProQuest, which is now owned by Clarivate) has had their own shared bibliographic repository for many
 years, currently called SkyRiver: Library Database Management 1 Library Metadata Management 1 iii.com<https://www.iii.com/products/skyriver/>

 Metadoor could be a repackaging of SkyRiver for ProQuest customers, or is somehow related.

 I believe SkyRiver is an separately licensed III offering. So Metadoor could be a gateway drug into additional pay-to-use metadata.

 But all just a guess.


 Wade Guidry
 Library Consortium Services Manager, WACTCLC
 walag at bigbend.edu<mailto:wadegmttigbend.edu>
 (509) 760-4474
 http://www.wactcic.org<http://www.wactcic.or8L>

 From: Wactcic-alma <wactcic-alma-bounces at lists.ctc.edu> On Behalf Of Thomas, Kirsti
 Sent: Thursday, March 10, 2022 4:04 PM
 To: WACTCLC Alma Discussion <wactcic-alma at lists.ctc.edu>
 Subject: Re: [Wactcic-alma] FW: Introducing MetaDoor -from Ex Libris/ProQuest

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 Amy,

 I also get the impression from the flyer that the product is in competition with OCLC WorldCat.

 Looking at the Consent form, it does operate on a slightly different model than WorldCat.

 Instead of having a central database where records are stored, it functions more like the old Z39.50 tools where you could search for a record in another
 library's ILS and download a copy into your own system, and vice versa.

 It looks like it only works for Alma customers at this point.    OCLC WorldCat is ILS-neutral.

 There's also a potential catch for participating libraries who are also OCLC members-- while we have the right to do what we like with bibliographic
 records created by our own individual institutions (especially since the CTC libraries are all state agencies and the individual records we create
 probably count as public domain works), we may not have the right to share bibliographic records we got from WorldCat that were created by *other*
 libraries.

 See WorldCat Rights and Responsibilities for the OCLC Cooperative policy:
 https://www.ocic.org/en/worldcat/cooperative-aualityipolicy.html

 Out of the roughly 5000 volumes we purchase every year, only 2-3 have original catalog records that we create ourselves.

 Trying to identify which records in our Alma system are eligible for sharing sounds to me like a lot of work for not much direct benefit at this point it
 time.

 It will be ok!

 Kirsti 5. Thomas
 Library Technical Services Manager
 Seattle Colleges
 kirsti.thomas at seattlecolleges.edu<mailto:kirsti.thomas at seattlecolleges.edu>



 From: Wactcic-alma <wactcic-alma-bounces at lists.ctc.edu<mailto:wactcic-alma-bounces at lists.ctc.edu» On Behalf Of Herman, Amy
 Sent: Thursday, March 10, 2022 12:40
 To: WACTCLC Alma Discussion <wactcic-alma at lists.ctc.edu<mailto:wactcic-alma at lists.ctc.edu»
 Subject: [Wactcic-alma] FW: Introducing MetaDoor -from Ex Libris/ProQuest

 Direct from our ProQuest rep_ I assume others also got this email but in case you didn't.    This is the first I've heard of it. Is this a run at competing
 with OCLC??

 Amy Herman
 Library Faculty 1 Olympic College
 1600 Chester Avenue 1 Bremerton, WA 98337
 aherman at olympic.edu<mailto:aherman at olympic.edu> 1 360-475-7256




 From: Dana Ouellette <Dana.Ouellette at proquest.com<mailto:Dana.Ouellette at proauest.com»
 Sent: Thursday, March 10, 2022 11:14 AM
 To: Herman, Amy <aherman at olympic.edu<mailto:aherman at olympic.edu»
 Subject: [EXTERNAL] - Introducing MetaDoor -from Ex Libris/ProQuest

 CAUTION: This email came from a non-OC system or external source. Beware of phishing and social engineering!

 Hello Amy,
 As an Alma customer, you may be interested in knowing about MetaDoor! MetaDoor is Ex Libris' new open metadata platform which is designed to streamline

https://lists.ctc.edu/pipermail/wactcic-alma_lists.ctc.eclu/2022-March/010806.html                                                                         1/2
            Case:
5/26/22, 4:40 PM       2:22-cv-02470-JLG-KAJ[Wactcic-alma]
                                             Doc #: 6-1FW: Filed:  06/13/22
                                                             Introducing        Page:
                                                                         MetaDoor -from Ex13  of 13 PAGEID #: 271
                                                                                           Libris/ProQuest
 and simplify library metadata workflows. MetaDoor will enable shared metadata for catalogers around the world and ultimately move us to the Linked Data
 future that you expect. Learn more from the attached PDF. If you would be willing to share your bibliographic records, then review the attached Word doc.
 If you have questions or for more information, contact MetaDoor info at exlibrisgroup.com<mailto:MetaDoor info at exlibrisgrouo.com>.
 +++


 Feel free to use if you don't want to recreate the wheel.

 Have a great day!

 Best,

 Dana

 Dana Ouellette
 Account Manager, Community Colleges & Special Markets

 T (734) 997-6850
 E: dana.ouellette at proquest.com<mailto:dana.ouellette at proquest.com>

 proquest.com<https://nam04.safelinks.protection.outlook.com/?
 url.https%3A%2F%2Fabout.proquest.com%2Fen%2F&data.04%7C01%7C%7Cb4Of90c024a94b160b9e08da02d64ef7%7CO2d8ff38d7114e31a9156cb5cff788df%7C0%7C0%7C6378254171890E

 clarivate.com<https://nam04.safelinks.protection.outlook.com/?
 url.http%3A%2F%2Fwww.clarivate.com%2F&data.04%7C01%7C%7Cb4Of90c024a94b160b9e08da02d64ef7%7CO2d8ff38d7114e31a9156cb5cff788df%7C0%7C0%7C637825417189009803%7(


 [cid:image001.jpg at 01D8349D.991013830]

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 seattlecolleges.edu<mailto:ITHelp at seattlecolleges.edu>.

                next part
 An HTML attachment was scrubbed...
 URL: <http://lists.ctc.edu/pipermail/wactcic-alma lists.ctc.edu/attachments/20220311/7641fcd0/attachment.html>
                next part
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 Name: image001.jpg
 Type: image/jpeg
 Size: 3751 bytes
 Desc: image001.jpg
 URL: <http://lists.ctc.edu/oipermail/wactcic-alma lists.ctc.edu/attachments/20220311/7641fcd0/attachment.ing>


       • Previous message(by thread): [Wactcic-alma] FW:Introducing MetaDoor -from Ex Libris/ProQuest
       • Next message(by thread): [Wactcic-alma] FW:Introducing MetaDoor -from Ex Libris/ProQuest
       • Messages sorted by:[ date ] thread ][ subje][ author ]

 More information about the Wactcic-alma mailing list




https://lists.ctc.edu/pipermail/wactcic-alma_lists.ctc.eclu/2022-March/010806.html                                                                       2/2
